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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

JOOVV, INC., a Delaware Corporation,

             Plaintiff,                        CIVIL ACTION NO.:
v.                                             6:22-cv-00965-PGB-DC

PLATINUM LED HOLDINGS, LLC, a
Florida limited liability company
                                                   JURY TRIAL DEMANDED
             Defendant.


                  NOTICE OF PENDENCY OF OTHER ACTIONS

      In accordance with Local Rule 1.07, I certify that the instant action:

       IS          related to pending or closed civil or criminal case(s) previously
                   filed in this Court, or any other Federal or State court, or
                   administrative agency as indicated below:




  X    IS NOT      related to any pending or closed civil or criminal case filed with
                   this Court, or any other Federal or State court, or administrative
                   agency.

      I further certify that I will serve a copy of this Notice of Pendency of Other

Actions upon each party no later than fourteen days after appearance of the party.

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Dated: June 6, 2022.

                                  Respectfully Submitted,

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